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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                     Plaintiff,                  FILE NO. 1:04-CR-02

v.                                               HON. ROBERT HOLMES BELL

LESLIE ANN BELLMER,

                 Defendant.
_________________________________/

                 ORDER DENYING MOTION FOR IMPOSITION
                      OF ALTERNATIVE SENTENCE

       This matter is before the Court on Defendant Leslie Ann Bellmer's motion for

imposition of alternative sentence (docket #130).

       On October 13, 2004, this Court sentenced Defendant to a term of imprisonment of

84 months. At the time of sentencing, the Supreme Court had undertaken review of United

States v. Booker, 543 U.S. 220 (2005), which challenged the constitutionality of the United

States Sentencing Guidelines. Pursuant to a recommendation of the Sixth Circuit in United

States v. Koch, 193 F. App'x 391 (6th Cir. 2004), this Court included in its judgment an

alternative sentence of 60 months that it would impose "should the sentence guidelines be

deemed unconstitutional." (Judgment, Docket #97 at 2.)

       In Booker, the Supreme Court found that the mandatory nature of the Sentencing

Guidelines was unconstitutional as applied to enhancements based on facts found by the
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judge at sentencing. Booker, 543 U.S. at 244. The Court concluded that "[a]ny fact (other

than a prior conviction) which is necessary to support a sentence exceeding the maximum

authorized by the facts established by a plea of guilty or a jury verdict must be admitted by

the defendant or proved to a jury beyond a reasonable doubt." Id. However, the remainder

of the Sentencing Reform Act of 1984 was found to satisfy constitutional requirements. Id.

at 764. The Court remedied the constitutional defect by excising the provision of the Act that

makes the Guidelines mandatory, see 18 U.S.C.A. § 3553(b)(1) (Supp. 2004), and by altering

the standard of review on appeal, see 18 U.S.C.A, § 3742(e) (main ed. & Supp. 2004).

Booker, 543 U.S. at 764.

        As a result, the Booker case did not find the Sentencing Guidelines as a whole to be

unconstitutional as anticipated by this Court when it stated its alternative sentence. Indeed,

as applied to Defendant, nothing about the application of the Guidelines was constitutionally

suspect. The enhancements applied by this Court conformed to the proofs taken during the

plea process and no enhancement was based on facts found by the Court at sentencing.

Accordingly, the Court is without authority to enter an alternative sentence. Therefore,

        IT IS ORDERED that Defendant's motion for imposition of alternative sentence

(Docket #130) is DENIED.




Date:       July 9, 2007                   /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE



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